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                       UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF CALIFORNIA


                                      MEMORANDUM



Honorable Anthony W. Ishii                    RE: Arlene Jeanette Mojardin
United States District Judge                      Docket Number: 0972 1:12CR00213-005
Senior United States District Judge               FIREARM STORED AT
Fresno, California                                OFFENDER’S RESIDENCE



Your Honor:


On May 18, 2015, the offender was convicted of a violation of Title 18 U.S.C., Section 1349,
Conspiracy to Commit Bank Fraud, Mail Fraud, and Wire Fraud, (Class B Felony). She was
sentenced to:


☒      "30 months custody of the Bureau of Prisons and Supervised Release for a period of 5
       years."

The felony conviction prohibits the offender from possessing a firearm. As such, and for
officer safety reasons, it is customary for the probation office to preclude offenders from
residing any place where a firearm is stored. In the instant case, the offender resides with her
husband Jesse Mojardin (resident) who is employed by the California Department of
Corrections and Rehabilitation and has a has a ranking of Sergeant (verified). He has requested
permission to maintain his firearm (Glock 19 number HYH788) at his residence. This case is
viewed as an exception to the probation office's prohibition of offenders residing where a
firearm is stored.


The offender has no criminal history involving firearms or violence, the firearm will be secured
by Mr. Jesse Mojardin (resident) and the offender will not have access to the weapon. This will
also alleviate the probation officer's concern for safety. Furthermore, the offender has no other
viable residence and if forced to move, it would greatly diminish the likelihood for her success.


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                                                                                      REV. 08/2014
                                                              FIREARMS RESIDENCE_COURT MEMO.DOTX
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The firearm will be stored in a safe and Jesse Mojardin (resident) has vowed to immediately
notify the probation officer should, at any time, the weapon be unaccounted for.


Since the offender will not have constructive possession and in light of the discussion herein,
the probation officer plans to allow the offender to remain at her current residence, even though
a firearm is stored on the premises.


                                       Respectfully submitted,




                                       /s/ Jose Figueroa
                                         Jose Figueroa
                                United States Probation Officer

Dated:    August 24, 2017
          Bakersfield, California

                         /s/ Lonnie E. Stockton



REVIEWED BY:             Lonnie E. Stockton
                         Supervising United States Probation Officer




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                                ORDER OF THE COURT



THE COURT ORDERS:


☒      Approves the probation officer’s plan to allow offender to reside where a firearm is
       stored.


☐      Disapproves the probation officer's plan. The offender may not reside where a firearm
       is store.


☐      Other:


IT IS SO ORDERED.

Dated: August 25, 2017
                                          SENIOR DISTRICT JUDGE




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                                                           FIREARMS RESIDENCE_COURT MEMO.DOTX
